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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
GREENVILLE DIVISION

UNITED STATES OF AMERICA

VS.

DEXTER WARDELL LOVETT JR.,
a/k/a “Guap”

LARRY DARNELL LANE JR.

LADARIUS DURWAND FRANKS,
a/k/a “Red”

ANGIE THACH

SONYA LATRICE LOVETT

DOUGLAS BASHONE MOORE JR.

JOSHUA SHAMAR JETER

LUKE PBAUL VILAIVANH

SHAUNTE MAURICE LANE

BONITA LASHUNA BRUCE

MICHAEL DEVON SMALLS

DEXTER WARDELL LOVETT SR.

Criminal No. 6:24-cr-297

18 U.S.C. § 2

18 U.S.C. § 922(g)(1)

18 U.S.C. § 924(a)(2)

18 U.S.C. § 924(a)(8)

18 U.S.C. § 924(c)(1)(A)()
18 U.S.C. § 924(d)(1)

18 U.S.C. § 924(e)

18 U.S.C. § 982(a\(1)

18 U.S.C. § 1028A(a)(1)
18 U.S.C. § 1343

18 U.S.C. § 1349

18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(2)(A)
18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. § 1956(b)

18 U.S.C. § 1956(h)

18 U.S.C. § 1957(a)

18 U.S.C. § 1957(b)

21 U.S.C. § 841(a)(1)

21 U.S.C. § 841(b)(1)(A)
21 U.S.C. § 841(b)(1)(C)
21 U.S.C. § 841(b)(1)(D)
21 U.S.C. § 846

21 U.S.C. § 853

21 U.S.C. § 881

28 U.S.C. § 2461(c)

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SUPERSEDING INDICTMENT
(SEALED)
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Drug and Firearm Counts

Count 1
(Drug Distribution Conspiracy)

THE GRAND JURY CHARGES:

1. That beginning at a time unknown to the grand jury, but beginning at least in or
around March 2018, and continuing thereafter, up to and including the date of this Superseding
Indictment, in the District of South Carolina and elsewhere, the Defendants, DEXTER
WARDELL LOVETT JR., a/k/a “Guap,” LARRY DARNELL LANE JR., LADARIUS
DURWAND FRANKS, a/k/a “Red,” ANGIE THACH, SONYA LATRICE LOVETT,
DOUGLAS BASHONE MOORE JR., JOSHUA SHAMAR JETER, LUKE PBAUL
VILAIVANH, SHAUNTE MAURICE LANE, and BONITA LASHUNA BRUCE, knowingly
and intentionally did combine, conspire, agree and have tacit understanding with each other and
with others, both known and unknown to the grand jury, to knowingly, intentionally, and
unlawfully possess with intent to distribute and distribute cocaine, cocaine base (commonly
referred to as “crack cocaine”), methamphetamine, and N-phenyl-N-[1-(2-phenylethy]l)-4-
piperidinyl] propanamide (commonly referred to as “fentanyl”), all Schedule II controlled
substances, and marijuana, a Schedule I controlled substance.

a. With respect to DEXTER WARDELL LOVETT JR., a/k/a “Guap,” the amount
involved in the conspiracy attributable to him as a result of his own conduct and the
conduct of other conspirators reasonably foreseeable to him is 1,000 kilograms or more
of marijuana, a Schedule I controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A);
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b. With respect to LARRY DARNELL LANE JR., the amount involved in the
conspiracy attributable to him as a result of his own conduct and the conduct of other
conspirators reasonably foreseeable to him is 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, a quantity of a mixture
or substance containing a detectable amount of cocaine base (commonly referred to as
“crack cocaine”), a quantity of cocaine, and 400 grams or more of a mixture or
substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-
piperidinyl] propanamide (commonly referred to as “fentanyl”), all Schedule II
controlled substances, and a quantity of marijuana, a Schedule I controlled substance,
in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
841(b)(1)(C), and 841(b)(1)(D);

c. With respect tt LADARIUS DURWAND FRANKS, a/k/a “Red,” the amount
involved in the conspiracy attributable to him as a result of his own conduct and the
conduct of other conspirators reasonably foreseeable to him is 50 grams or more of
actual methamphetamine, a quantity of a mixture or substance containing a detectable
amount of cocaine base (commonly referred to as “crack cocaine”), a quantity of
cocaine, and 400 grams or more of a mixture or substance containing a detectable
amount of N-phenyl-N-{1-(2-phenylethyl)-4-piperidinyl] propanamide (commonly
referred to as “fentanyl’”’), all Schedule II controlled substances, and a quantity of
marijuana, a Schedule [ controlled substance, in violation of Title 21, United States

Code, Sections $41(a)(1), 841(b)(1)(A), 841(b)(1)(C), and 841(b)(1)(D);
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. With respect to ANGIE THACH, the amount involved in the conspiracy attributable
to her as a result of her own conduct and the conduct of other conspirators reasonably
foreseeable to her is a quantity of marijuana, a Schedule I controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D);

. With respect to SONYA LATRICE LOVETT, the amount involved in the conspiracy
attributable to her as a result of her own conduct and the conduct of other conspirators
reasonably foreseeable to her is a quantity of marijuana, a Schedule I controlled
substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(D);

With respect to DOUGLAS BASHONE MOORE JR., the amount involved in the
conspiracy attributable to him as a result of his own conduct and the conduct of other
conspirators reasonably foreseeable to him is a quantity of marijuana, a Schedule I
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(D);

. With respect to JOSHUA SHAMAR JETER, the amount involved in the conspiracy
attributable to him as a result of his own conduct and the conduct of other conspirators
reasonably foreseeable to him is a quantity of marijuana, a Schedule I controlled
substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(D);

. With respect to LUKE PBAUL VILAIVANH, the amount involved in the conspiracy
attributable to him as a result of his own conduct and the conduct of other conspirators

reasonably foreseeable to him is a quantity of marijuana, a Schedule I controlled
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substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(D);

i. Withrespect to SHAUNTE MAURICE LANE, the amount involved in the conspiracy
attributable to him as a result of his own conduct and the conduct of other conspirators
reasonably foreseeable to him is a quantity of a mixture or substance containing a
detectable amount of methamphetamine and N-phenyl-N-[1-(2-phenylethyl)-4-
piperidinyl}] propanamide (commonly referred to as “fentanyl”), both Schedule II
controlled substances, and a quantity of marijuana, a Schedule I controlled substance,
in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and
841(b)(1)(D); and

j. Withrespect to BONITA LASHUNA BRUCE, the amount involved in the conspiracy
attributable to her as a result of her own conduct and the conduct of other conspirators
reasonably foreseeable to her is a quantity of marijuana, a Schedule I controlled
substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(D);

All in violation of Title 21, United States Code, Section 846.
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Count 2
(Possession with Intent to Distribute Marijuana)

THE GRAND JURY FURTHER CHARGES:

2. That on or about November 5, 2020, in the District of South Carolina, the
Defendant, LARRY DARNELL LANE JR., knowingly, intentionally, and unlawfully did
possess with intent to distribute a quantity of marijuana, a Schedule I controlled substance;

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D).

Count 3
(Felon in Possession of Firearms and Ammunition)

THE GRAND JURY FURTHER CHARGES:

3; That on or about November 5, 2020, in the District of South Carolina, the
Defendant, LARRY DARNELL LANE JR., knowingly possessed firearms and ammunition in
and affecting interstate commerce, to wit, a Taurus .357 caliber revolver, an American Derringer
Corporation .357 caliber pistol, an American Tactical Import 5.56mm AR-style pistol, .357 caliber
ammunition, and 5.56mm ammunition, having been previously convicted of a crime punishable
by imprisonment for a term exceeding one year and knowing that he had been convicted of such a
crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and 924(e).

Count 4
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

THE GRAND JURY FURTHER CHARGES:

4. That on or about November 5, 2020, in the District of South Carolina, the
Defendant, LARRY DARNELL LANE JR., knowingly possessed a firearm in furtherance of a
drug trafficking crime, as alleged in Count 2, which is prosecutable in a court of the United States;

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
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Count 5
(Felon in Possession of a Firearm)

THE GRAND JURY FURTHER CHARGES:

a That on or about December 2, 2021, in the District of South Carolina, the
Defendant, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” knowingly possessed a firearm
in and affecting interstate commerce, to wit, a Glock 23 Gen 5 .40 caliber pistol, having been
previously convicted of a crime punishable by imprisonment for a term exceeding one year and
knowing that he had been convicted of such a crime.

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and 924(e).

Count 6
(Possession with Intent to Distribute Marijuana)

THE GRAND JURY FURTHER CHARGES:

6. That on or about January 19, 2022, in the District of South Carolina, the
Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and ANGIE THACH,
knowingly, intentionally, and unlawfully did possess with intent to distribute a quantity of
marijuana, a Schedule I controlled substance, and did aid and abet each other in the aforesaid
offense;

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D), and Title

18, United States Code, Section 2.
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Count 7
(Felon in Possession of Ammunition)

THE GRAND JURY FURTHER CHARGES:

7 That on or about January 19, 2022, in the District of South Carolina, the Defendant,
DEXTER WARDELL LOVETT JR., a/k/a “Guap,” knowingly possessed ammunition in and
affecting interstate commerce, to wit, 9mm ammunition, having been previously convicted of a
crime punishable by imprisonment for a term exceeding one year and knowing that he had been
convicted of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(2), and 924(e).

Count 8
(Distribution of a Quantity of Marijuana)

THE GRAND JURY FURTHER CHARGES:

8. That on or about July 8, 2022, in the District of South Carolina, the Defendants,
DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and JOSHUA SHAMAR JETER,
knowingly, intentionally, and unlawfully did possess with intent to distribute and distribute a
quantity of marijuana, a Schedule I controlled substance, and did aid and abet each other in the
aforesaid offense;

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D), and Title

18, United States Code, Section 2.
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Count 9
(Possession with Intent to Distribute Multiple Controlled Substances)

THE GRAND JURY FURTHER CHARGES:

9. That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LADARIUS DURWAND FRANKS, a/k/a “Red,” knowingly, intentionally, and unlawfully did
possess with intent to distribute 50 grams or more of actual methamphetamine, a quantity of a
mixture or substance containing a detectable amount of cocaine base (commonly referred to as
“crack cocaine”), a quantity of cocaine, and 400 grams or more of a mixture or substance
containing a detectable amount of N-phenyl-N-[1-(2-phenylethy1)-4-piperidinyl] propanamide
(commonly referred to as “fentanyl”), all Schedule II controlled substances, and a quantity of
marijuana, a Schedule I controlled substance;

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
841(b)(1)(C), and 841(b)(1)(D).

Count 10
(Felon in Possession of a Firearm and Ammunition)

THE GRAND JURY FURTHER CHARGES:

10. That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LADARIUS DURWAND FRANKS, a/k/a “Red,” knowingly possessed a firearm and
ammunition in and affecting interstate commerce, to wit, a Glock 43 9mm pistol and 9mm
ammunition, having been previously convicted of a crime punishable by imprisonment for a term
exceeding one year and knowing that he had been convicted of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).
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Count 11
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

THE GRAND JURY FURTHER CHARGES:

v1) That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LADARIUS DURWAND FRANKS, a/k/a “Red,” knowingly possessed a firearm in furtherance
of a drug trafficking crime, as alleged in Count 9, which is prosecutable in a court of the United
States;

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

Count 12
(Possession with Intent to Distribute Multiple Controlled Substances)

THE GRAND JURY FURTHER CHARGES:

12. That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LARRY DARNELL LANE JR., knowingly, intentionally, and unlawfully did possess with intent
to distribute 50 grams or more of actual methamphetamine, a quantity of a mixture or substance
containing a detectable amount of cocaine base (commonly referred to as “crack cocaine”), a
quantity of cocaine, and 400 grams or more of a mixture or substance containing a detectable
amount of N-phenyl-N-[1-(2-phenylethy])-4-piperidinyl] propanamide (commonly referred to as
“fentanyl”), all Schedule II controlled substances, and a quantity of marijuana, a Schedule I
controlled substance;

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),

841(b)(1)(C), and 841(b)(1)(D).

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Count 13
(Felon in Possession of Firearms and Ammunition)

THE GRAND JURY FURTHER CHARGES:

13. That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LARRY DARNELL LANE JR., knowingly possessed firearms and ammunition in and affecting
interstate commerce, to wit, a Ruger, model 57, 5.7x28mm pistol, a Springfield, model XD, .45
caliber pistol, 5.7x28mm ammunition, and .45 caliber ammunition, having been previously
convicted of a crime punishable by imprisonment for a term exceeding one year and knowing that
he had been convicted of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).

Count 14
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

THE GRAND JURY FURTHER CHARGES:

14. That on or about February 9, 2023, in the District of South Carolina, the Defendant,
LARRY DARNELL LANE JR., knowingly possessed a firearm in furtherance of a drug
trafficking crime, as alleged in Count 12, which is prosecutable in a court of the United States;

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

Count 15
(Distribution of Marijuana)

THE GRAND JURY FURTHER CHARGES:

15. That on or about June 16, 2023, in the District of South Carolina, the Defendant,
DEXTER WARDELL LOVETT JR., a/k/a “Guap,” knowingly, intentionally, and unlawfully
did possess with intent to distribute and distribute a quantity of marijuana, a Schedule I controlled
substance;

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D).

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Count 16
(Felon in Possession of Ammunition)

THE GRAND JURY FURTHER CHARGES:

16. That on or about August 17, 2023, in the District of South Carolina, the Defendant,
SHAUNTE MAURICE LANE, knowingly possessed ammunition in and affecting interstate
commerce, to wit, .223 caliber ammunition, having been previously convicted of a crime
punishable by imprisonment for a term exceeding one year and knowing that he had been convicted
of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).

Count 17
(Possession with Intent to Distribute Methamphetamine and Marijuana)

THE GRAND JURY FURTHER CHARGES:

17. That on or about September 15, 2023, in the District of South Carolina, the
Defendant, SHAUNTE MAURICE LANE, knowingly, intentionally, and unlawfully did possess
with intent to distribute a quantity of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, and a quantity of marijuana, a Schedule |
controlled substance;

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and

841(b)(1)(D).

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Count 18
(Felon in Possession of Ammunition)

THE GRAND JURY FURTHER CHARGES:

18. That on or about September 15, 2023, in the District of South Carolina, the
Defendant, SHAUNTE MAURICE LANE, knowingly possessed ammunition in and affecting
interstate commerce, to wit, .223 caliber ammunition, 9mm ammunition, and .40 caliber
ammunition, having been previously convicted of a crime punishable by imprisonment for a term
exceeding one year and knowing that he had been convicted of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).

Count 19
(Distribution of Marijuana)

THE GRAND JURY FURTHER CHARGES:

19. That on or about March 16, 2024, in the District of South Carolina, the Defendants,
DEXTER WARDELL LOVETT JR., a/k/a “Guap,” SONYA LATRICE LOVETT, LUKE
PBAUL VILAIVANH, and Don Adrian Hall, knowingly, intentionally, and unlawfully did
possess with intent to distribute and distribute a quantity of marijuana, a Schedule I controlled
substance, and did aid and abet each other in the aforesaid offense;

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D), and Title

18, United States Code, Section 2.

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Money Laundering Counts

Count 20
(Conspiracy to Commit Money Laundering)

THE GRAND JURY FURTHER CHARGES:

20. That beginning at a time unknown to the grand jury, but beginning at least in or
around April 2021, and continuing thereafter, up to and including the date of this Superseding
Indictment, in the District of South Carolina, the Defendants, DEXTER WARDELL LOVETT
JR., a/k/a “Guap,” SONYA LATRICE LOVETT, and DEXTER WARDELL LOVETT SR.,
did knowingly combine, conspire, and agree with each other and with other persons known and
unknown to the grand jury to commit offenses against the United States in violation of Title 18,
United States Code, Section 1956 and Section 1957, to wit:

(a) to knowingly conduct and attempt to conduct financial transactions affecting interstate
commerce and foreign commerce, which transactions involved the proceeds of specified unlawful
activity, that is, a conspiracy to distribute controlled substances in violation of Title 21, United
States Code, Sections 841 and 846, knowing that the transactions were designed in whole or in
part to conceal and disguise the nature, location, source, ownership, and control of the proceeds of
specified unlawful activity, and that while conducting and attempting to conduct such financial
transactions, knew that the property involved in the financial transactions represented the proceeds
of some form of unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(1)(B){i); and

(b) to knowingly engage and attempt to engage in monetary transactions by, through, or
to a financial institution, affecting interstate and foreign commerce, in criminally derived property
of a value greater than $10,000, that is, $14,000, such property having been derived from a

specified unlawful activity, that is, a conspiracy to distribute controlled substances in violation of

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Title 21, United States Code, Sections 841 and 846, all in violation of Title 18, United States Code,
Section 1957.
MANNER AND MEANS

The manner and means used to accomplish the objectives of the conspiracy included,
among others, the following:

21. The Defendant, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” purchased
and sold marijuana, a Schedule I controlled substance.

22. The Defendant, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” directed
purchasers of the controlled substances to pay the Defendant, SONYA LATRICE LOVETT, for
the controlled substances.

23. The Defendant, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” would then
arrange for the transportation of the controlled substances to a location or person accessible to the
buyers.

24. The Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and
SONYA LATRICE LOVETT, would use the proceeds derived from the sale of controlled
substances to pay persons, known and unknown to the grand jury, to transport the controlled
substances to a location or person accessible to the buyers.

25. The Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and
SONYA LATRICE LOVETT, would also use drug proceeds to pay a South Carolina business
owner in exchange for the business owner to provide pay stubs and other employment records to
the Defendant, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” in an effort to disguise the
source or control of the money and falsify the Defendant, DEXTER WARDELL LOVETT JR.,

a/k/a “Guap’s,” employment history in a positive manner, which allowed the Defendant,

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DEXTER WARDELL LOVETT JR., a/k/a “Guap,” to make additional purchases using drug
proceeds.

26. The Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” SONYA
LATRICE LOVETT, and DEXTER WARDELL LOVETT SR., used the funds generated by
distributing the controlled substances to (1) to conceal the nature, location, source, ownership, and
control of the funds generated in the drug distribution scheme by separating the purchase of the
controlled substances from the payment for the controlled substances, (2) to move the illicit funds
through a financial institution in an amount greater than $10,000 to purchase a 2021 Audi Q8 with
VIN number WAIFVAF18MD018305; and (3) to move the illicit funds through a financial
institution in monthly payments for the purchase of a 2023 Chevrolet Corvette with VIN Number
1G1YA2D4XP5 125067.

All in violation of Title 18, United States Code, Section 1956(h).

Counts 21—25
(Money Laundering)

THE GRAND JURY FURTHER CHARGES:

27. Paragraphs 20-26 of this Superseding Indictment are incorporated herein by
reference.

28. On or about the dates set forth below, in the District of South Carolina, the
Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” LARRY DARNELL LANE
JR., SONYA LATRICE LOVETT, and DEXTER WARDELL LOVETT SR., as principals,
aiders and abettors, and coparticipants in jointly undertaken criminal activity, with the intent to
conceal or disguise the nature, location, source, ownership, or control of property known to be the
proceeds of a specified unlawful activity, did knowingly and willfully conduct and attempt to

conduct a financial transaction affecting interstate commerce as set forth below, each of which

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involved the proceeds of some form of unlawful activity, to include the knowingly, voluntary, and
unlawful distribution of controlled substances, in violation of Title 21, United States Code, Section
841(a)(1), and that while conducting and attempting to conduct such financial transactions, knew

that the property involved in the financial transactions was the proceeds of some form of unlawful

activity:
Count Defendant(s) Date Nature of Transaction and Code Section(s)
(on or about)

21 DEXTER April 6, 2021 $14,000 check made out to Audi of Greenville,
WARDELL in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i),
LOVETT JR., 1956(b), and 2.

a/k/a “Guap,”
and SONYA
LATRICE
LOVETT

22 DEXTER April 6,2021 $14,000 check made out to Audi of Greenville,
WARDELL in violation of 18 U.S.C. §§ 1957(a), 1957(b),
LOVETT JR., and 2.

a/k/a “Guap,”
and SONYA
LATRICE
LOVETT

23 DEXTER August 9, Payment in the amount of $3,401.80 by
WARDELL 2021 SONYA LATRICE LOVETT for DEXTER
LOVETT JR., WARDELL LOVETT JR., a/k/a “Guap’s,”
a/k/a “Guap,” apartment at DECA Camperdown, in violation
and SONYA of 18 U.S.C. §§ 1956(a)(1)(B)(Gi), 1956(b), and
LATRICE me
LOVETT

24 DEXTER June 5,2023 Payment to Santander Consumer in the amount
WARDELL of $2,999 by SONYA LATRICE LOVETT
LOVETT JR., for DEXTER WARDELL LOVETT JR.,
a/k/a “Guap,” a/k/a “Guap’s,” Hyundai Sonata, in violation
and SONYA of 18 U.S.C. §§ 1956(a)(1)(B)(i), 1956(b), and
LATRICE 2.

LOVETT

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a> LARRY June 6, 2022 Cash deposit in the amount of $1,420 into the
DARNELL Truist bank account for Good Life Trucking,
LANE JR. LLC, in violation of 18 U.S.C.

§§ 1956(a)(1)(B)(i), 1956(b), and 2.

26 DEXTER June 26, 2023 Cash payment in the amount of $1,200 to Spero
WARDELL Financial for a 2023 Chevrolet Corvette, in
LOVETT JR., violation of 18 U.S.C. §§ 1956(a)(1)(B)(i),
a/k/a “Guap,” 1956(b), and 2.

SONYA
LATRICE
LOVETT, and
DEXTER
WARDELL
LOVETT SR.

Wire Fraud and Aggravated Identity Theft

Count 27
(Conspiracy to Commit Wire Fraud)

THE GRAND JURY FURTHER CHARGES:

29. That beginning approximately in or about March 2021 and continuing thereafter,
up to and including the date of this Superseding Indictment, in the District of South Carolina and
elsewhere, the Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and
MICHAEL DEVON SMALLS, did knowingly and willfully combine, conspire, agree, and have
a tacit understanding with each other and with others, both known and unknown to the Grand Jury,
to devise and execute a scheme and artifice to defraud, and during such period, in the course of
executing said scheme and artifice, transmitted and caused to be transmitted wire communications
in interstate commerce, to include writings, for the purpose of executing the scheme and artifice

to defraud, in violation of Title 18, United States Code, Section 1343.

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The Scheme and Artifice

30. The object of the conspiracy was for the Defendant, DEXTER WARDELL
LOVETT JR., a/k/a “Guap,” and others, both known and unknown to the grand jury, to live a
lifestyle beyond their reported means. For example, in the latter months of 2021, the Defendant,
DEXTER WARDELL LOVETT JR., , a/k/a “Guap,” lived in the DECA Camperdown
apartment building located at 320 Falls Street, Greenville, South Carolina, with a monthly rent of
$2,990 per month. Meanwhile, in 2021, the Defendant, DEXTER WARDELL LOVETT JR.,, ,
a/k/a “Guap,” reported an annual income of $13,500 to the Internal Revenue Service. In order to
pass the initial credit check required to the live at DECA Camperdown, the Defendants, DEXTER
WARDELL LOVETT JR., a/k/a “Guap,” and MICHAEL DEVON SMALLS, filed fraudulent
paperwork using another person’s identity without that person’s consent.

31. |The manner and means by which the Defendants) DEXTER WARDELL
LOVETT JR., a/k/a “Guap,” and MICHAEL DEVON SMALLS, sought to accomplish the
object of the conspiracy include the following:

a. the scheme participants obtained the personal identifying information (PII) of
another person, C.J., without that person’s knowledge or consent;

b. the scheme participants submitted a false and fraudulent apartment application
using electronic means to RealPage.com, a third-party property management
company, using C.J.’s name, address, date of birth, and Social Security number;

c. the scheme participants caused multiple wires to be submitted in furtherance of
their fraudulent scheme, including the wires outlined in Counts 28—31 below;

All in violation of Title 18, United States Code, Section 1349.

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Counts 28—31
(Wire Fraud)

THE GRAND JURY FURTHER CHARGES:

32. Paragraphs 29-31 of this Superseding Indictment are incorporated herein by
reference.

33. That on or about the dates specified below in the District of South Carolina and
elsewhere, the Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and
MICHAEL DEVON SMALLS, as principals, aiders and abettors, and coparticipants in jointly
undertaken criminal activity, for the purpose of executing and attempting to execute the scheme
and artifice to defraud described above relating to the fraudulent application for residence in an
upscale apartment complex, did transmit and cause to be transmitted in interstate commerce, by
means of wire communications, the writings, signs, and signals further described below, each

transmission constituting a separate count:

Count Defendant(s) Date of Wire Description of Wire
(on or about)

28 DEXTER June 3,2021 Application for residency at DECA
WARDELL Camperdown submitted online using stolen
LOVETT JR., identity of C.J.

a/k/a “Guap,”
and MICHAEL
DEVON
SMALLS

29 MICHAEL June 7, 2021 Email sent from MICHAEL DEVON
DEVON SMALLS to DEXTER WARDELL
SMALLS LOVETT JR., a/k/a “Guap,” with DocuSign

documents for the DECA Camperdown
apartment using C.J.’s name, date of birth,
address, and social security number

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30 DEXTER June 21,2021 eRenterPlan insurance documents related to the
WARDELL DECA Camperdown apartment submitted in
LOVETT JR., C.J.’s name using the email address of
a/k/a “Guap,” MICHAEL DEVON SMALLS and the phone
and MICHAEL number for DEXTER WARDELL LOVETT
DEVON JR., a/k/a “Guap”

SMALLS

31 DEXTER August 26, DEXTER WARDELL LOVETT JR., a/k/a
WARDELL 2022 “Guap,” sent an email containing a false
LOVETT JR., paystub for employment with Express Catering,
a/k/a “Guap,” LLC, to support his application for credit to

purchase a Hyundai Sonata from Benson
Hyundai

All in violation of Title 18, United States Code, Sections 1343 and 2.

Counts 32-34
(Aggravated identity theft)

THE GRAND JURY FURTHER CHARGES:

34. Paragraphs 29-33 of this Superseding Indictment are incorporated herein by
reference.

35. That on or about the dates specified below in the District of South Carolina and
elsewhere, the Defendants, DEXTER WARDELL LOVETT JR., a/k/a “Guap,” and
MICHAEL DEVON SMALLS, as principals, aiders and abettors, and coparticipants in jointly
undertaken criminal activity, knowingly did possess and use, without lawful authority, a means of
identification of another person, as detailed below, during and in relation to a felony violation
enumerated in Title 18, United States Code, Section 1028A(c)(4), that is, conspiracy to commit
wire fraud, a violation of Title 18, United States Code, Section 1349, and wire fraud, a violation

of Title 18, United States Code, Section 1343.

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Count Defendant(s) Date of Wire Means of Identification
(on or about)

32 DEXTER June 3,2021 Application for residency at DECA
WARDELL Camperdown submitted online using C.J.’s
LOVETT JR., name, date of birth, address, and social security
a/k/a “Guap,” number
and MICHAEL
DEVON
SMALLS

33 DEXTER June 7,2021 Email sent from MICHAEL DEVON
WARDELL SMALLS to DEXTER WARDELL
LOVETT JR., LOVETT JR., a/k/a “Guap,” with DocuSign
a/k/a “Guap,” documents for the DECA Camperdown
and MICHAEL apartment using C.J.’s name, date of birth,
DEVON address, and social security number
SMALLS

34 DEXTER June 21,2021 eRenterPlan insurance documents related to the
WARDELL DECA Camperdown apartment submitted using
LOVETT JR., C.J.’s name
a/k/a “Guap,”
and MICHAEL
DEVON
SMALLS

All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

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Additional Firearm Counts

Count 35
(Felon in Possession of a Firearm and Ammunition)

THE GRAND JURY FURTHER CHARGES:

36. That on or about April 18, 2024, in the District of South Carolina, the Defendant,
LADARIUS DURWAND FRANKS, a/k/a “Red,” knowingly possessed a firearm and
ammunition in and affecting interstate commerce, to wit, a Diamondback .380 caliber pistol and
.380 caliber ammunition, having been previously convicted of a crime punishable by imprisonment
for a term exceeding one year and knowing that he had been convicted of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).

Count 36
(Felon in Possession of Firearms and Ammunition)

THE GRAND JURY FURTHER CHARGES:

3% That on or about April 18, 2024, in the District of South Carolina, the Defendant,
DEXTER WARDELL LOVETT SR., knowingly possessed firearms and ammunition in and
affecting interstate commerce, to wit, a Glock 23 .40 caliber pistol, a SCCY, model CPX-2, 9mm
pistol, .40 caliber ammunition, and 9mm ammunition, having been previously convicted of a crime
punishable by imprisonment for a term exceeding one year and knowing that he had been convicted
of such a crime;

In violation of Title 18, United States Code, Sections 922(g)(1), 924(a)(8), and 924(e).

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FORFEITURE

FIREARM/DRUG OFFENSES:

Upon conviction for felony violations of Title 18 and Title 21, United States Code, as
charged in this Superseding Indictment, the Defendants, DEXTER WARDELL LOVETT JR.,
a/k/a “Guap,’” LARRY DARNELL LANE JR., LADARIUS DURWAND FRANKS, a/k/a
“Red,” ANGIE THACH, SONYA LATRICE LOVETT, DOUGLAS BASHONE MOORE
JR., JOSHUA SHAMAR JETER, LUKE PBAUL VILAIVANH, SHAUNTE MAURICE
LANE, BONITA LASHUNA BRUCE, and DEXTER WARDELL LOVETT SR., shall forfeit
to the United States all of the Defendants’ rights, title, and interest in and to any property, real and
personal,

(a) constituting, or derived from any proceeds the Defendant obtained, directly or

indirectly, as the result of such violation(s) of Title 21, United States Code, and all

property traceable to such property;

(b) used or intended to be used, in any manner or part, to commit or to facilitate the
commission of such violations of Title 21, United States Code;

(c) any firearms and ammunition (as defined in 18 U.S.C. § 921) —-

(1) used or intended to be used to facilitate the transportation, sale, receipt,
possession or concealment of controlled substances or any proceeds traceable

to such property;

(2) involved in or used in any knowing violation of 18 U.S.C. § 922 or 924, or
violation of any other criminal law of the United States or intended to be used
in a crime of violence.

MONEY LAUNDERING:

Upon conviction for violations of Title 18, United States Code, Sections 1956 and 1957 as
charged in this Superseding Indictment, the Defendants, DEXTER WARDELL LOVETT JR.,
a/k/a “Guap,” LARRY DARNELL LANE JR., SONYA LATRICE LOVETT, and DEXTER

WARDELL LOVETT SR., shall forfeit to the United States any property, real or personal,

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involved in a transaction or attempted transaction in violation of 18 U.S.C. § 1956, as charged in
the Superseding Indictment, or any property traceable to the offenses.
WIRE FRAUD/CONSPIRACY:

Upon conviction for violations of Title 18, United States Code, Sections 1343 and 1349 as
charged in this Superseding Indictment, the Defendants, DEXTER WARDELL LOVETT JR.,
a/k/a “Guap,” and MICHAEL DEVON SMALLS, shall forfeit to the United States, any
property, real or personal, constituting, derived from or traceable to proceeds the Defendants
obtained directly or indirectly as a result of such offenses.

PROPERTY:

Pursuant to Title 18, United States Code, Sections 924(d)(1), 981(a)(1)(C), 982(a)(1) and
982(a)(2)(A), and Title 21, United States Code, Sections 853 and 881, and Title 28, United States
Code, Section 2461(c), the property which is subject to forfeiture upon conviction of the
Defendants for the offenses charged in this Superseding Indictment includes, but is not limited to,
the following:

A. Money Laundering/Forfeiture Judgment:

A sum of money equal to all property involved in the money laundering
offenses charged in the Superseding Indictment, and all interest and
proceeds traceable thereto as a result of their violations of 18 U.S.C. §§
1956 and 1957.

B. Drug Proceeds/Forfeiture Judgment:

A sum of money equal to all property the Defendants obtained as a result of
the drug offenses charged in the Superseding Indictment, and all interest
and proceeds traceable thereto as a result of their violations of 21 U.S.C. §§
841 and 846.

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D.

Proceeds/Forfeiture Judgment:

A sum of money equal to all proceeds the Defendants obtained directly or
indirectly as the result of the wire fraud offenses charged in the Superseding
Indictment, and all interest and proceeds traceable thereto, and/or that such
sum equals all property derived from or traceable to their violations of 18
U.S.C. §§ 1343 and 1349.

Firearms:

(1) Taurus .357 caliber revolver
Serial Number: 99017
Seized from: Larry Darnell Lane Jr.

(2) American Derringer Corporation .357 caliber pistol
Serial Number: LP68265
Seized from: Larry Darnell Lane Jr.

(3) | American Tactical Import 5.56mm AR-style pistol
Serial Number: NS288916
Seized from: Larry Darnell Lane Jr.

(4) — Ruger, model 57, 5.7x28mm pistol
Serial Number: 642-28392
Seized from: Larry Darnell Lane Jr.

(5) Springfield, model XD, .45 caliber pistol
Serial Number: $3163151
Seized from: Larry Darnell Lane Jr.

(6) Black and Brown Armi handgun, Model GT26, .25 caliber
Serial Number: S02046
Seized from: Larry Darnell Lane Jr.

(7) Glock 23 Gen 5 .40 caliber pistol
Serial Number: BSRK063
Seized from: Dexter Wardell Lovett Jr.

(8) Glock 43 9mm pistol
Serial Number: ZZB429
Seized from: Ladarius Durwand Franks

(9) Glock 23 GenS .40 caliber handgun with magazine
Serial Number: BVA5308
Seized from 242 Pierpont Avenue, Spartanburg, SC
Asset ID: 24-FBI-004668

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(10)

(11)

SCCY CPX-2 9mm handgun with magazine

Serial Number: 195583

Seized from 242 Pierpont Avenue, Spartanburg, SC
Asset ID: 24-FBI-004668

Diamondback .380 caliber handgun with magazine
Serial Number: ZL4548

Seized from: Ladarius Franks

Asset ID: 24-FBI-004668

E. Ammunition:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

(10)

Miscellaneous rounds of . 357 caliber ammunition
Seized from: Larry Darnell Lane Jr.

Miscellaneous rounds of 5.56mm ammunition
Seized from: Larry Darnell Lane Jr.

Miscellaneous rounds of 9mm ammunition
Seized from: Dexter Wardell Lovett Jr.

Miscellaneous rounds of 9mm ammunition
Seized from: Seized from: Ladarius Durwand Franks

Miscellaneous rounds of 5.7x28mm ammunition
Seized from: Larry Darnell Lane Jr.

Miscellaneous rounds of .45 caliber ammunition
Seized from: Larry Darnell Lane Jr.

Miscellaneous rounds of .223 caliber ammunition
Seized from: Shaunte Maurice Lane

Miscellaneous rounds of 9mm ammunition
Seized from: Shaunte Maurice Lane

Miscellaneous rounds of .40 caliber ammunition
Seized from: Shaunte Maurice Lane

Miscellaneous rounds of .40 caliber ammunition

Seized from 242 Pierpont Avenue, Spartanburg, SC
Asset ID: 24-FBI-004668

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(11) Miscellaneous rounds of 9mm ammunition
Seized from 242 Pierpont Avenue, Spartanburg, SC
Asset ID: 24-FBI-004668

(12) Miscellaneous rounds of .380 caliber ammunition
Seized from: Ladarius Franks
Asset ID: 24-FBI-004668

F. Vehicle:

2021 Chevrolet Tahoe
VIN: LGNSKNKD6MR359278

Titled in the name of: Sonya Latrice Lovett
Asset ID: 24-FBI-003736

G. Real Property:

(1) 242 Pierpont Avenue
Spartanburg, South Carolina 29303
Tax Map Number: 7-08-13-115.00
Titled in the name of: Sonya L. Lovett
Asset ID: 24-FBI-004672

(2) 2 Crofton Drive
Greenville, South Carolina 29605
Parcel Number: 593.5-01-093
Titled in the name of: Larry D. Lane
Asset ID: 24-FBI-004671

H. Jewelry:

(1) 10KT White gold diamond Jesus pendant and chain, 18.5” long, One (1)
Seized from Dexter Lovett on 4/18/24
Asset ID: 24-FBI-004602

(2) 10KT White gold skull pendant and chain, 18.5” long, One (1)

Seized from Dexter Lovett on 4/18/24
Asset ID: 24-FBI-004602

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SUBSTITUTION OF ASSETS:

If any of the property described above as being subject to forfeiture, as a result of any act

or omission of a Defendant:

(1)
(2)
(3)
(4)
(5)

Cannot be located upon the exercise of due diligence;

Has been transferred or sold to, or deposited with a third party;

Has been placed beyond the jurisdiction of the Court;

Has been substantially diminished in value; or

Has been commingled with other property which cannot be subdivided
without difficulty.

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b)(1),

(incorporating Title 21, United States Code, Section 853(p)), to seek forfeiture of any other

property of the said Defendant up to the value of the above forfeitable property.

Pursuant to Title 18, United States Code, Sections 924(d)(1), 981(a)(1)(C), 982(a)(1) and

982(a)(2)(A), and Title 21, United States Code, Sections 853 and 881, and Title 28, United States

Code, Section 2461(c)

A__ {rue BILL

FOREPERSON

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